Case 1:21-cr-00@

  

¢-1¢BOlc-c eam (olvial 18)

Stay Peso er aie couple blanks in a few days.. there's enemies among us but God's
on our side.. keep yourself safe watch our town and shit... into the storm!

deere)

1/11/2021 12:25:26 AM(UTC+0)

Source Extraction:
File System (1), File System (2)

acelin eh BB) e sre Col ial -18)

Dena ee) sleep over finding news it's all fake

bad ice MMU ce) |
1/11/2021 12:26:06 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

aot

You can't leave me hanging like that
Platform: Mobile

1/11/2021 12:26:14 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

acetin

Ndr didn't get arrested
Platform: Mobile

1/11/2021 12:26:31 AM(UTC+0)

 

Source Extraction:
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aceti

Canada isn't on lock down
Platform: Mobile

1/11/2021 12:26:43 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

From:| he MBean 1a-18)]

Haha you think I trust these airwaves...fuckheads up there are mass snitching me to
feds

Platform: Mobile
1/11/2021 12:27:09 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)
ace ia

Pelosi computer missing i could see
Platform: Mobile

1/11/2021 12:27:13 AM(UTC+0)

 

Source Extraction:
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1255
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A [etSI0 ES)
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1/11/2021 12:27:35 AM(UTC+0)

Source Extractior
File System (1), File System (2)

Carl Dresch (owner)

1/11/2021 12:27:36 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

Coun

CM ole RNa nea

Platform: Mobile
1/11/2021 12:27:56 AM(UTC+0)

 

Source Extra
File System ay 9) File System (2)

From: |

| mean you sent a pic but you weren't in the pic
Platform: Mobile

1/11/2021 12:28:15 AM(UTC+0)

 

Source Extractio
File System ay File System (2)

aeluiF

Shh
ee ceed|

1/11/2021 12:28:19 AM(UTC+0)

 

Source Extractio
File System ny File System (2)

From: Karl Dresch (owner)

I'll see you soon
a ele)

1/11/2021 12:28:25 AM(UTC+0)

Source Extraction:
File System (1), File System (2)

ace

Meleyal ace laler- Me dale)
bad =i tcel a Mm cede)] (2)

1/11/2021 12:28:27 AM(UTC+0)

 

Source Extractio
File System (1), File System (2)

 

1256
t 18-14 Filed 04/12/21 Page 3 of 4

ard

Those pictures could've came from anywhere
dos uM cele]| (od
1/11/2021 12:41:31 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

From: <arl Dresch (owner)

Ya and all them commenters are the ones that fuck with me and put up dirty pictures when |
sell shit on the market place...I'm telling you shut down tech we'd be gravy ... just a few less
of the stingiest bucks around

as] Mee
1/11/2021 12:45:10 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

ace

seman
Platform: Mobile

1/11/2021 12:45:39 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

a celi <arl Dresch (owner)
Alright bro just wanted to holler let everyone know...stand by and watch your block
er uae

1/11/2021 12:46:32 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

acelin

Hear that I got a few dems on mine
Platform: Mobile

1/11/2021 12:47:03 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

areas Karl Dresch (owner)

Got some visiting to do..I'll holler soon
retuned ell cd

1/11/2021 12:47:07 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

aceite

Alright bro ttyl
gu Cored

1/11/2021 12:47:25 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

1260
ent 18-14 Filed 04/12/21 Page 4 of 4

  

aco

People are rising
oss uu ceed]

1/12/2021 12:53:59 AM(UTC+0)

Source Extraction:
File System (1), File System (2)

EBB er enm Celica}

1rd Sat)
Lae amelie Whoo] a Cla ms icine Mp LAVA CS PRET a
6/p240x240/851582_369239386556143_1497813874_n.png.webp?_nc_cat=1&ccb=2
Pata upp meee eae Nel cel er Miele bs

ne cid=48 no TtcScontentxx&_ne_ rmd=266&oh=e7bbedsecce3930268c0c72ac
Es [-Ved teeta) OL)

ae

rd ee)
Path: httos://scontent.xx.focdn.net/vit39.1997-
6/s168x128/851582_369239386556143_ 1497813874 _n.png.webp?_nc_cat=1&ccb=2
be ecg are egar clatter Longa oe

Ree MMe cule MOM es MMC EYL tevin Leider AB
2998a2210c029cc3f&0e=6003F4C7

gle ele cd
1/12/2021 12:55:49 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

ae Karl Dresch (owner)
It's Nationwide
Platform: Mobile
1/12/2021 12:56:03 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

acon

Just waiting for shit to go down

Platform: Mobile
1/12/2021 12:56:16 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

From: Karl Dresch (owner)

Yes but when it's everywhere makes it so much harder to stop us
ae ieee

1/12/2021 12:57:13 AM(UTC+0)

 

Source Extraction:
File System (1), File System (2)

1263
